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                          IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

Trevor Kelley,                                             ORDER RE PLAINTIFF’S NOTICE OF
                                                           SETTLEMENT
                        Plaintiff,
                                                           Case No.: 2:17-cv-00608-CW-EJF
v.
                                                           District Judge Clark Waddoups
Harman Management Corporation,
                                                           Magistrate Judge Evelyn J. Furse
                       Defendant.



        Based upon the Plaintiff’s Notice of Settlement Between Plaintiff and Harman

Management Corporation, (“Notice of Settlement”)1, and good cause appearing therefor,

        The Court orders that all pending deadlines and filing requirements are tolled for forty-

five days.

        DATED this 19th day of December, 2017.


                                                    BY THE COURT:


                                                    ________________________________
                                                    EVELYN J. FURSE
                                                    United States Magistrate Judge




1
  Plaintiff’s Notice of Settlement between Plaintiff, Kelley, and Defendant, Harman Management Corporation (docket no. 15),
filed December 18, 2017.
